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          So Ordered.

          Signed this 5 day of January, 2024.



                                                                    _______________________________
                                                                           Wendy A. Kinsella
                                                                           United States Bankruptcy Judge




                                       UNITED STATES BANKRUPTCY COURT
                                    FOR THE NORTHERN DISTRICT OF NEW YORK

    In Re:
          JOSEPH A. DIMINO, JR.,
                                                                                       Case No. 23-30672
                                     Debtor.                                           Chapter 13


                                         ORDER CONFIRMING CHAPTER 13 PLAN
Part 1:               Findings
In connection with the chapter 13 plan filed at docket no 4 (“Plan”) before this court for confirmation, the court
finds that:
(1) Debtor1 has complied with the filing requirements under 11 U.S.C. § 521(a)(1) (mandatory documents) and
11 U.S.C. § 521(b) (credit counseling certificate);
(2) Under penalty of perjury, Debtor has represented to the chapter 13 trustee (“Trustee”) and this court that, to
the extent applicable, all domestic support obligations owed by Debtor, as defined in 11 U.S.C. § 101(14A), that
have become due since the filing of the petition have been paid and that all such obligations coming due during
the Plan will be paid in a timely fashion;
(3) Debtor has completed the Certification Pursuant to Local Bankruptcy Rule 3015-1 as to compliance with the
requirements of the Federal Rules of Bankruptcy Procedure (“Fed. R. Bankr. P.”) and Local Bankruptcy Rules
(“LBR”) by providing creditor addresses that enabled proper notice upon all creditors and parties in interest of
the Plan and has made service pursuant to Fed. R. Bankr. P. 7004 and LBR 3015-1(c) upon any creditor affected



    1
        In a joint case, any reference to “Debtor” shall mean “Debtors.”
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by an Allowed Contested Matter2 contained within the Plan as set forth in the certificate of service filed by Debtor;
and
(4) The Trustee has reviewed and recommends the Plan for confirmation to the court, all timely objections, if
any, have been resolved, and the Plan meets the requirements of 11 U.S.C. § 1325.
Accordingly, IT IS ORDERED that
The Plan is confirmed, with the following provisions set forth in Parts 2-9 below.

Part 2:                Plan Payments, Length of Plan and Order of Distribution

2.1                 Plan Payments and Length of Plan

                    Amount of each Monthly Payment:                             $600.00
                    Term of Plan:                                               60 months
                    Minimum Amount to be paid into the Plan:                    $36,000.00

            Minimum Amounts to be paid to nonpriority unsecured creditors under the Plan shall be the
            greater of:
                    Liquidation:                                                $9,524.50
                    Disposable Income (Form 122C-2,
                    line 45 x 60 months):                                       $24,916.20

                    Percentage Repayment:                                       36%
2.2         Income Tax Refunds

             Debtor will turn over to the Trustee all income tax refunds in excess of $1,500 received during the Plan
             term, unless, pursuant to the authority granted under LBR 3015-1(e) and without further notice or hearing,
             the Trustee has approved the debtor’s retention of in excess of $1,500 based upon demonstrated
             reasonable and necessary expenses of the debtor or the debtor’s dependents.

2.3         Order of Distribution of Plan Payments by the Trustee

Subject to any alternate provision in Part 8, funds received by the Trustee for distribution to creditors under the
Plan shall be disbursed to pay claims as set forth in this Order and shall be applied, after payment of applicable
Trustee’s fees, in the following order of distribution:

        First: To pay any and all equal monthly payments required on allowed secured claims under Sections 3.2
        and 3.3 and nonpriority unsecured claims under Section 5.2.;
        Second: To pay allowed administrative expenses, including attorney’s fees under Section 4.3, pro rata,
until paid in full;
        Third: To pay allowed secured claims pro rata until paid in full under Sections 3.1, 3.4 and 3.6;
        Fourth: To pay allowed priority claims pro rata until paid in full under Sections 4.4 and 4.5; and
        Fifth: To pay allowed unsecured claims pro rata under Part 5.

      2
          Allowed Contested Matter shall have the same meaning as ascribed in LBR 3015-1(c)(1).
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In the event Debtor will make ongoing mortgage or lease installment payments through the Plan under Section
3.1 or 6.1, those payments shall be made prior to payment to any other creditor and after payment of applicable
Trustee’s fees.
Part 3:            Secured Claims

All secured creditors shall retain the liens securing their claims until the earlier of the payment of the underlying
debt determined under nonbankruptcy law or discharge of the underlying debt under 11 U.S.C. § 1328.
If relief from the automatic stay is ordered as to any item of collateral listed in this Part, then all payments under
this Part as to that collateral will cease, and all secured claims based on that collateral will no longer be treated
by the Plan.

3.1    Maintenance of Payments and Cure of Default

          None.
       (a)     Prepetition Arrears
       Prepetition arrears owed to the creditors listed below will be paid in full by the Trustee in accordance
       with a timely filed proof of claim. In the absence of a contrary timely filed proof of claim, the amount
       stated below shall control.


             Creditor                      Collateral            Amount of arrearage           Interest rate on
                                                                                                arrearage (if
                                                                                                 applicable)


       (b)     Maintenance of Payments
       Ongoing postpetition payments will be disbursed directly to the creditor as indicated below.

        Creditor                       Collateral               Current installment      Installment payment to
                                                                payment                  be disbursed by
 M&T Bank                   2015 Mercedes                       $425.83                  □ Trustee ■ Debtor

 Movement Mortgage          4815 Lepinski Farm Place            $2,700.00 – Debtor       □ Trustee ■ Debtor
                                                                pays half as part of
                                                                child support
                                                                agreement

3.2    Payment of Secured Claim Based on Collateral Value
       ■ None.

3.3    Payment in Full of Secured Claim with Present Value Interest
       ■ None.
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3.4    Judicial Liens Avoided Pursuant to 11 U.S.C. § 522(f)

       ■ None.
3.5    Surrender of Collateral
       ■ None.
3.6    Secured claims to be paid in full. Check one.
       ■ None.
Part 4:           Fees and Priority Claims

4.1    General
Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in
Section 4.5, will be paid in full without postpetition interest.
4.2    Trustee’s Fees
Trustee’s fees are governed by statute and may change during the course of the case but will be no more than
10% of payments received by the Trustee under the Plan.
4.3    Attorney’s Fees
Debtor’s attorney shall be as paid set forth below.
               Total Fee Approved                                            $4,500.00
               Amount Paid Directly by Debtor                                $2,500.00
               Allowed Administrative Claim to be paid by Trustee            $2,000.00

4.4    Priority Claims Other Than Attorney’s Fees and Those Treated in Section 4.5
          None.
Claims entitled to priority under 11 U.S.C. § 507 shall be paid in full based upon a timely filed proof of claim.

        Creditor                                            Amount of claim to be paid
 Internal Revenue Service                                   $6,625.62

4.5    Domestic Support Obligations Assigned or Owed to a Governmental Unit and Paid in Accordance
       with 11 U.S.C. § 1322(a)(4)

       ■ None.
Part 5:        Nonpriority Unsecured Claims
Part 5
Part 5:Nonpriority Unsecured Claims Not Separately Classified
5.1
Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, until paid in
accordance with the minimum amount set forth in Section 2.1.
5.2    Maintenance of Payments and Cure of any Default on Nonpriority Unsecured Claims
       ■ None.

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5.3    Other Separately Classified Nonpriority Unsecured Claims
       ■ None.
Part 6:         Executory Contracts and Unexpired Leases
Part 6:
6.1    Executory Contracts and Unexpired Leases
       ■ None.
Part 7:         Vesting of Property of the Estate
Part 7:
7.1    Revesting
Property of the estate shall not revest in Debtor until completion of the Plan.


Part 8:           Non-Standard Plan Provision(s)
       ■ None.
Part 9:           Miscellaneous Provisions

IT IS FURTHER ORDERED that

9.1    Dischargeability

Any provision in the Plan purporting to discharge a claim under 11 U.S.C. § 523 shall be unenforceable and void
until such time as Debtor obtains a separate order that discharges such claim.

9.2    Default on Direct Payments to Secured Creditors

Upon Debtor’s post-confirmation default to a secured creditor listed in Sections 3.1(b) for a period of more than
60 days on claims secured by real property which is NOT the Debtor’s principal residence, or 30 days on claims
secured by personal property (“Post-Confirmation Default”), the secured creditor may give notice of said Post-
Confirmation Default (“Default Notice”). The Default Notice shall be filed with the court and served upon Debtor
by first class mail and upon Debtor’s attorney and the Trustee by notice of electronic filing via the CM/ECF
system. The secured creditor must file an affidavit of service of the Default Notice with the court. The Default
Notice shall provide that within 15 days the Post-Confirmation Default must be: (1) cured; (2) settled by written
agreement between the parties; or (3) resolved by the court based on appropriate pleadings filed by Debtor
establishing sufficient equity or other facts sufficient to justify continuance of the automatic stay. If the Post-
Confirmation Default is not resolved in accordance with the terms of the Default Notice, said creditor may submit
an application and ex parte order providing relief from the automatic stay and directing that (i) the Trustee be
added as a necessary party to receive notice of the report of sale and surplus money proceedings; and (ii) closure
of the case shall not constitute an abandonment of the Trustee’s interest, if any, in any surplus proceeds.

9.3    Requirements Regarding Postpetition Tax Returns

During the term of the confirmed Plan, Debtor shall timely file with the taxing authorities all required federal and
state tax returns and pay all applicable taxes when due. Upon Debtor’s default in the timely filing of required
federal and/or state tax returns and/or in the payment of applicable federal and/or state taxes for any postpetition
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period, the appropriate taxing authority may give written notice of said delinquency (“Delinquency Notice”) to
Debtor by regular mail, and Debtor’s attorney and the Trustee by electronic notice, based upon the filing of the
Delinquency Notice with the court. The taxing authority must file an affidavit of service of the Delinquency
Notice with the court. The Delinquency Notice shall specify which tax returns have not been filed and/or which
taxes have not been paid and give notice that the taxing authority may apply ex parte for an order dismissing the
case within 180 days from the date the Delinquency Notice is given if the delinquency is not: (1) cured; (2) settled
by written agreement between the parties; or (3) resolved by appropriate pleading submitted to the court
evidencing the filing of said returns and/or payment of said tax. If the delinquency is not addressed as per the
terms of the Delinquency Notice, the taxing authority may submit an ex parte application and order dismissing
the chapter 13 case without further notice.

9.4   Obligation to Report Inheritances, Settlements, Awards, Bonuses or Any Other Asset or Monies
Received During the Term of the Plan

Debtor shall report to the Trustee any receipt or notice of entitlement to funds in excess of $1,500.00 during the
term of the Plan (other than the regular monthly income reflected in Schedule I filed with the court).

9.5    Payroll Deductions

If Debtor defaults on payments required by the Plan, the Trustee may submit and implement an ex parte order for
payroll deduction payments without further notice to Debtor or Debtor’s attorney.

9.6    Trustee’s Duties Regarding Business Cases

The Trustee is not to perform the duties specified in 11 U.S.C. § 1302(c) absent further order of this court. Debtor
shall perform the duties as specified in 11 U.S.C. § 704(a)(8) and file with the Trustee such periodic reports as to
the operation of Debtor’s business as required by the Trustee or court pursuant to 11 U.S.C. §1304(c).

9.7    Prohibition on Postpetition Debt

Debtor is prohibited from incurring any debt in excess of $1,500.00 without prior approval of the Trustee or the
court, except such debt as may be necessary for emergency medical or hospital care of the Debtor or Debtor’s
dependents.

9.8    Sales or Transfers of Property During the Plan Term

No property may be sold or transferred without the approval of the court or the Trustee. Notwithstanding any
provision of the Plan or this Order, no article of property, real or personal, with any value of less than $2,500.00
may be sold, transferred or otherwise disposed of, without the prior consent of the Trustee, and no article of
property, real or personal, with any value of more than $2,500.00 may be sold, transferred or otherwise disposed
of, without prior order of this court.

9.9    Ongoing Notices

Creditors being paid directly by Debtor under the Plan shall continue to send customary payment coupons,
statements, and notices to the parties making ongoing payments during the term of the Plan. Such actions shall
not constitute or form the basis for finding a violation of the automatic stay.


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9.10    Inconsistent Provisions

In the event of an inconsistent provision contained in the Plan and this Order, this Order shall control.

9.11    Loss Mitigation

If loss mitigation is pending between Debtor and a Mortgagee Creditor, the following terms and conditions shall
govern the rights of Debtor and Mortgagee Creditor under the confirmed Plan:

        a. The success of the Plan is dependent upon the success of the pending loss mitigation and modification
           of the mortgage terms. Thus, Mortgagee Creditor’s right to seek dismissal of the case based upon
           Debtor’s inability to successfully complete the Plan and Debtor’s right to seek to modify the Plan
           terms are preserved in all respects.

        b. While loss mitigation is pending, the Trustee shall reserve all funds which would otherwise be
           disbursed on any claim timely filed by the Mortgagee Creditor. Reserved funds may be disbursed by
           the Trustee only with the consent of the Mortgagee Creditor or upon entry of an order after notice and
           a hearing.

        c. If the confirmed Plan provides that Debtor will remit to the Trustee a sum certain every month as an
           ongoing postpetition mortgage payment for the Mortgagee Creditor, then the Trustee shall reserve and
           shall not disburse said funds while loss mitigation is pending absent consent of the Mortgagee Creditor
           or entry of an order authorizing disbursement after notice and a hearing.

ALL OPPOSITION HAVING BEEN OVERRULED OR SETTLED, THE STANDING TRUSTEE
RECOMMENDS THE PLAN AS SATISFYING THE REQUIREMENTS OF 11 U.S.C. § 1325(a).

Date: January 3, 2024                                                         Initials: s/MWS


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